                                                                                       10/11/2018


                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                     CHARLOTTESVILLE DIVISION

  UNITED STATES OF AMERICA,
                                                     CASE NO. 3:18-cr-00025
                         v.
                                                     ORDER
  MICHAEL PAUL MISELIS,
                                     Defendant.      JUDGE NORMAN K. MOON


           Before the Court is the government’s motion to stay the Magistrate Judge’s release order

 pending resolution of the government’s appeal of that order pursuant to 18 U.S.C. § 3145(a)(1).

 The court having considered that motion, it herby GRANTS the government’s request. The

 Magistrate Judge’s release order shall be stayed pending this Court’s resolution of the motion to

 revoke.

           It is further ORDERED that the U.S. Marshall shall transport forthwith the defendant to

 the Western District of Virginia for a hearing on this matter.

           It is further ORDERED that the parties shall file any additional submissions relating to

 the release or detention of the defendant no later than two days prior to a hearing in this matter.

 A hearing is to be scheduled promptly upon defendant’s arrival in the Western District of

 Virginia.

           So ORDERED this ____
                           11th day of October, 2018.




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